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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




       JEFFREY B. SEDLIK,                    CV 21-1102 DSF (MRWx)
           Plaintiff,
                                             Order GRANTING in Part and
                        v.                   DENYING in Part Defendants’
                                             Motion for Summary Judgment
       KATHERINE VON                         and Partial Summary Judgment
       DRACHENBERG, et al.,                  (Dkt. 31); Order DENYING
           Defendants.                       Plaintiff’s Motion for Summary
                                             Judgment or Summary
                                             Adjudication (Dkt. 37)


             Defendants Katherine Von Drachenberg (Kat Von D), Kat Von D,
      Inc. (KVD, Inc.), and High Voltage Tattoo, Inc. (High Voltage) move for
      summary judgment as to Plaintiff Jeffrey Sedlik’s claims for copyright
      infringement and under Section 1202(a) and (b) of the Digital
      Millennium Copyright Act (DMCA). Dkt. 31 (KVD Mot.) at 8. Sedlik
      opposes. Dkt. 50 (Opp’n to KVD Mot.). Sedlik moves for summary
      judgment on his claims. Dkt. 37 (Sedlik Mot.) at 2. Defendants oppose.
      Dkt. 50 (Opp’n to Sedlik Mot.). The Court deems these matters
      appropriate for decision without oral argument. See Fed. R. Civ. P. 78;
      Local Rule 7-15. Defendants’ motion is GRANTED in part and
      DENIED in part. Sedlik’s motion is DENIED.
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                              I. UNDISPUTED FACTS

      A.    The Parties

            Sedlik is a world-renowned, award-winning professional
      photographer and professor. PSUF ¶¶ 1-2. 1 Sedlik’s work has been
      featured in numerous publications, and he has an extensive fine art
      repertoire. Id. ¶¶ 3-4.

             In 1989, Sedlik independently conceived and created the iconic
      photographic portrait depicting world-famous jazz musician Miles
      Davis (the Portrait) that is the subject of this litigation. Id. ¶ 5. Sedlik
      is the sole and exclusive owner of the copyright for the Portrait, which
      was published in Jazziz Magazine in 1989. Id. ¶ 6. The Portrait
      appears as follows:




      1 Citations to DSUF refer to Sedlik’s Statement of Genuine Disputes, dkt. 50-

      2, which incorporates Defendants’ proposed uncontroverted facts and Sedlik’s
      responses to those facts. Citations to PSUF refer to Defendants’ Statement of
      Genuine Disputes, dkt. 42, which incorporates Sedlik’s proposed
      uncontroverted facts and Defendants’ responses to those facts. Where the
      Court cites to a disputed fact, the Court has found the dispute was not valid
      or was irrelevant, unless otherwise indicated. The Court has independently
      considered the admissibility of the evidence and has not considered facts that
      are irrelevant or based on inadmissible evidence.




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      Dkt. 35-17.

            In creating the Portrait, Sedlik intended to comment on Miles
      Davis’s use of “negative space” in his musical work, meaning his use of
      silence, low volumes, and pauses in between notes. DSUF ¶ 138.

            Sedlik has offered and sold non-exclusive copyright licenses
      authorizing limited reproduction, distribution, display, and creation of
      derivative works of his Portrait for commercial and non-commercial
      purposes since its creation. PSUF ¶ 7. Sedlik registered his copyright
      with the United States Copyright Office, which issued a registration
      with an effective date of registration of July 6, 1994. Id. ¶ 8. Sedlik’s
      copyright registration remains valid. Id. ¶ 9.

            Kat Von D is a tattooist who has appeared on reality television
      shows such as “Miami Ink” and “LA Ink.” Id. ¶ 10. Kat Von D has
      special expertise in inking black and gray portrait tattoos. DSUF ¶ 3.
      Kat Von D owns and operates High Voltage, which operated a tattoo
      shop in Los Angeles named “Kat Von D’s High Voltage Tattoo.”




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      PSUF ¶ 11. 2 Kat Von D was an employee of High Voltage at all times
      relevant to this litigation. Id. ¶ 12. Other tattoo artists at High
      Voltage contributed a small percentage of their fees, which were used
      to cover the cost of the shop’s rent, but kept the majority of their
      earnings. DSUF ¶¶ 12-13.

             Kat Von D owns and operates KVD, Inc., a corporation of which
      she is the CEO, Secretary, CFO, sole owner, and sole shareholder.
      PSUF ¶ 13. Kat Von D is also the sole employee of KVD, Inc. Id. ¶ 15.
      KVD, Inc. has never held an ownership interest in High Voltage.
      DSUF ¶¶ 18-19.

            Kat Von D has not been paid by a customer for inking a tattoo
      since 2012 and considers tattoos she inks to be a gift for those
      individuals. Id. ¶¶ 4, 6.

      B.    The Miles Davis Tattoo

            Over two sessions in 2017, Kat Von D inked a tattoo of Miles
      Davis (the Tattoo) on Blake Farmer, a lighting technician with whom
      Kat Von D had worked on a film project. DSUF ¶¶ 20, 32. Farmer
      considered Miles Davis an important figure, and had thought of getting
      a portrait tattoo of Miles Davis since Farmer was in college. Id. ¶¶ 24-
      25. Farmer played trumpet from the sixth grade through college, and
      developed a particular appreciation for Miles Davis while studying jazz
      music in college. Id. ¶¶ 26-28. Farmer also believed that he, like
      Davis, had a “rebellious spirit” and identified with Davis. Id. ¶¶ 29-30.

            To select the image that was used to ink the Tattoo, Farmer did a
      Google search and found a photograph of Miles Davis (the Portrait),
      then texted the image to Kat Von D’s assistant. Id. ¶¶ 33-34. The
      photograph did not contain a copyright symbol. Id. ¶ 36. Farmer did
      not pay Kat Von D or High Voltage for inking the Tattoo. Id. ¶ 31.

            To ink the Tattoo, Kat Von D first created a line drawing on
      tracing paper, the purpose of which was to map out the image so that


      2 High Voltage’s physical location closed in November 2021.   DSUF ¶ 8.



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      she could ink the Tattoo by a freehand method and to show Farmer the
      size of the tattoo. Id. ¶¶ 40-43. Kat Von D created the line drawing by
      placing both the Portrait and the tracing paper on a light box, and then
      tracing the outlines and contours. Id. ¶ 45. She then created a stencil
      using a thermal-fax machine. Id. ¶¶ 46-47. The line drawing appears
      below:




      Dkt. 35-18. Kat Von D used the stencil to temporarily transfer the
      drawing onto Farmer’s skin, after which she began inking the Tattoo.
      DSUF ¶¶ 48-51. Her goal in inking the Tattoo was to create a
      sentiment that both evoked melancholy and had movement in it.
      Id. ¶ 90.

      C.    Social Media Posts

             On March 18, 2017, Kat Von D and High Voltage posted to their
      social media accounts a photo showing Kat Von D in the middle of
      creating the Tattoo. PSUF ¶ 16. The image depicts Kat Von D in the
      process of inking the Tattoo, with a printout of the Portrait in the
      background as a reference. Id. ¶¶ 17, 31. Kat Von D and High Voltage
      posted a second photo to their social media accounts, which was a
      progress photo of a portion of the Tattoo. Dkt. DSUF ¶ 96; dkts. 35-19
      – 35-22, 35-26 – 35-27. The social media posts appear below:




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             None of the Defendants obtained Sedlik’s permission or a license
      prior to inking the Tattoo. PSUF ¶ 21.

            On April 26, 2018, Kat Von D and High Voltage posted a photo of
      the completed Tattoo on their social media accounts:




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      PSUF ¶ 25; dkts. 35-23 – 35-25, 35-28 – 35-30. The caption on Kat Von
      D’s posts stated: “portrait I tattooed at @highvoltagetat.” Dkts. 35-23 –
      35-25. High Voltage’s posts stated, “It still amazes us that
      @thekatvond can make a face as majestic & deep as this emerge from
      the flesh!!!” Dkts. 35-28 – 35-30. Kat Von D also posted a short video
      to her Instagram account showing her in the process of inking the
      Tattoo. PSUF ¶ 26.

                              II. LEGAL STANDARD

             “A party may move for summary judgment, identifying each
      claim or defense – or the part of each claim or defense – on which
      summary judgment is sought. The court shall grant summary
      judgment if the movant shows there is no genuine dispute as to any
      material fact and the movant is entitled to judgment as a matter of
      law.” Fed. R. Civ. P. 56(a). “This burden is not a light one.” In re
      Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010). But the
      moving party need not disprove the opposing party’s case. Celotex
      Corp. v. Catrett, 477 U.S. 317, 323 (1986). Rather, if the moving party
      satisfies this burden, the party opposing the motion must set forth
      specific facts, through affidavits or admissible discovery materials,
      showing that there exists a genuine issue for trial. Id. at 323-24; Fed.
      R. Civ. P. 56(c)(1). A non-moving party who bears the burden of proof
      at trial as to an element essential to its case must make a showing
      sufficient to establish a genuine dispute of fact with respect to the
      existence of that element of the case or be subject to summary
      judgment. See Celotex Corp., 477 U.S. at 322.

            The “mere existence of some alleged factual dispute between the
      parties will not defeat an otherwise properly supported motion for
      summary judgment; the requirement is that there be no genuine issue
      of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48
      (1986). An issue of fact is a genuine issue if it reasonably can be
      resolved in favor of either party. Id. at 250-51. “The mere existence of
      a scintilla of evidence in support of the [non-movant’s] position will be
      insufficient; there must be evidence on which the jury . . . could find by
      a preponderance of the evidence that the [non-movant] is entitled to a


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      verdict . . . .” Id. at 252. “Only disputes over facts that might affect the
      outcome of the suit under the governing law will properly preclude the
      entry of summary judgment.” Id. at 248.

             “[A] district court is not entitled to weigh the evidence and
      resolve disputed underlying factual issues.” Chevron Corp. v. Pennzoil
      Co., 974 F.2d 1156, 1161 (9th Cir. 1992). Summary judgment is
      improper ‘where divergent ultimate inferences may reasonably be
      drawn from the undisputed facts.’” Fresno Motors v. Mercedes Benz
      USA, LLC, 771 F.3d 1119, 1125 (9th Cir. 2014). Instead, “the
      inferences to be drawn from the underlying facts must be viewed in the
      light most favorable to the party opposing the motion.” Matsushita
      Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587-88 (1986)
      (simplified).

            “[W]hen parties submit cross-motions for summary judgment,
      each motion must be considered on its own merits.” Fair Hous. Council
      of Riverside Cnty., Inc. v. Riverside Two, 249 F.3d 1132, 1136 (9th Cir.
      2001) (simplified). In doing so, the Court must consider the evidence
      submitted in support of both motions before ruling on each of them. Id.

                                  III. DISCUSSION

      A.    Evidentiary Objections

            Sedlik objects to numerous statements made by Defendants in
      support of their motion for summary judgment, as well as some of the
      underlying evidence. Dkt. 50-3 (Evidentiary Objections). As an initial
      matter, the Court notes that Sedlik has submitted objections to the
      statements in Defendants’ Separate Statement, rather than the
      underlying evidence. The Court considers the underlying evidence.

            “A district court’s ruling on a motion for summary judgment may
      only be based on admissible evidence.” Oracle, 627 F.3d at 385. A
      party seeking to admit evidence bears the burden of proof to show its
      admissibility. Id. “At the summary judgment stage, [the Court does]
      not focus on the admissibility of the evidence’s form. [The Court]




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      instead focus[es] on the admissibility of its contents.” Fraser v.
      Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003).

             Sedlik objects to Defendants’ statements regarding whether
      Farmer brought a printout of the Portrait to High Voltage, and whether
      it contained Sedlik’s name or a copyright symbol. Evidentiary
      Objections at 2. The Court does not rely on these statements.

            Several of Sedlik’s objections are to the relevance of the
      underlying evidence. See Evidentiary Objections at 3, 5. Generally, an
      objection to evidence on the ground that it is “irrelevant . . . [is]
      duplicative of the summary judgment standard itself” and thus
      “redundant” and unnecessary to consider here. Burch v. Regents of
      Univ. of Cal., 433 F. Supp. 2d 1110, 1119 (E.D. Cal. 2006); see also
      Anderson, 477 U.S. at 248 (“Factual disputes that are irrelevant or
      unnecessary will not be counted.”).

            Sedlik objects to statements made by Defendants’ experts,
      Evidentiary Objections at 4-5, 8-9, but the Court does not rely on those
      statements.

      B.    Claim for Copyright Infringement

            Sedlik moves for summary judgment on his copyright
      infringement claim. Sedlik Mot. at 2. Defendants also move for
      summary judgment, asserting that their use of the Portrait in creating
      the Tattoo was fair use. KVD Mot. at 7. The Court first addresses
      Sedlik’s arguments.

            1.    Liability

            “A plaintiff bringing a claim for copyright infringement must
      demonstrate ‘(1) ownership of a valid copyright, and (2) copying of
      constituent elements of the work that are original.’” Funky Films, Inc.
      v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1076 (9th Cir. 2006)
      (quoting Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
      (1991)), overruled on other grounds by Skidmore as Tr. For Randy
      Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020). “[T]he
      second element has two distinct components: copying and unlawful


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       appropriation.” Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th
       Cir. 2018) (internal quotation marks omitted), overruled on other
       grounds by Skidmore, 952 F.3d 1051. “The hallmark of ‘unlawful
       appropriation’ is that the works share substantial similarities.”
       Skidmore, 952 F.3d at 1064 (citing Newton v. Diamond, 388 F.3d 1189,
       1193 (9th Cir. 2004).

             The Ninth Circuit applies a two-part test to determine whether a
       defendant’s work is substantially similar to the plaintiff’s work: the
       extrinsic test and the intrinsic test, both of which must be satisfied for
       the works to be found substantially similar. Id. The extrinsic test
       “compares the objective similarities of specific expressive elements in
       the two works,” distinguishing between the protected and unprotected
       material in a plaintiff’s work. Id. The intrinsic test considers
       “similarity of expression from the standpoint of the ordinary reasonable
       observer, with no expert assistance.” Id. (citing Jada Toys, Inc. v.
       Mattel, Inc., 518 F.3d 628, 637 (9th Cir. 2008)).

             Defendants do not dispute that Sedlik owns a valid copyright in
       the Portrait. PSUF ¶ 9. They also do not appear to dispute the
       “copying” prong, as they do not address it in their Opposition.
       However, Defendants do argue that they did not copy “protectible
       elements” of the Portrait under the extrinsic and intrinsic tests. Opp’n
       to Sedlik MSJ at 10.

                   a.    Extrinsic Test

             Under the extrinsic test, the plaintiff first must identify the
       alleged similarity between his work and the defendant’s work. See
       Apple Computer, Inc. v. Microsoft Corp., 35 F.3d 1435, 1443 (9th Cir.
       1994). Then, “the court must determine whether any of the allegedly
       similar features are protected by copyright.” Id. Finally, the court
       must consider “whether the work is entitled to ‘broad’ or ‘thin’
       protection.” Id.

             The Court first considers the elements of the Portrait that are
       allegedly similar to the Tattoo. Sedlik provides only a statement that
       the Tattoo copies the “combination of subject matter, pose, light and


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       shadow, camera angle, [and] juxtaposition of elements within the
       composition” that are present in the Portrait. Sedlik Mot. at 17. He
       further concludes that the “constituent elements and selection and
       arrangement of those visual elements in the Iconic Miles Davis Portrait
       remain completely unchanged in the tattoo, with only de minimis
       variation arising from the medium of reproduction.” Id. In support of
       his argument, Sedlik cites his supplemental interrogatory responses,
       which describe in significant detail the steps Sedlik took to create the
       Portrait. Id.; see also dkt. 37-7 (supplemental interrogatory responses).
       As Defendants argue, this evidence does not comply with the Court’s
       Order re Motions for Summary Judgment, see Opp’n to Sedlik Mot. at
       12, but this is not the basis on which the Court denies Sedlik’s motion.
       For the purpose of this motion only, the Court assumes Sedlik has met
       his burden of identifying elements in the Tattoo that he claims are
       similar to the Portrait.
             The Court next considers whether any of the allegedly similar
       features are protected by copyright. Defendants argue some of the
       features are not protectible and cite several cases in support.

              First, Defendants cite Rentmeester, a copyright infringement
       action by a renowned photographer against Nike. Rentmeester, 883
       F.3d at 1115. Rentmeester photographed Michael Jordan “leaping
       toward a basketball hoop with a basketball raised above his head in his
       left hand, as though he is attempting to dunk the ball.” Id. The
       photograph later appeared in Life magazine. Id. Afterward, Nike hired
       a photographer to produce its own image of Jordan, and Nike’s
       photograph was similar to Rentmeester’s photograph, though it had a
       different background, and Jordan wore different clothing and Nike
       shoes. Id.

             In its analysis of the extrinsic test, the Ninth Circuit noted that
       while “photos can be broken down into objective elements that reflect
       the various creative choices the photographer made in composing the
       image”; they “cannot be dissected into protected and unprotected
       elements in the same way” as other works, such as novels, plays, and
       motion pictures. Id. at 1118-19. This is because none of the creative



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       choices made by a photographer in composing an image, such as
       camera angle or lighting, “is subject to copyright protection when
       viewed in isolation.” Id. at 1119. “A subsequent photographer is free to
       take her own photo of the same subject, again so long as the resulting
       image is not substantially similar to the earlier photograph.” Id.
       However, “[w]hat is protected by copyright is the photographer’s
       selection and arrangement of the photo’s otherwise unprotected
       elements.” Id.

              The Ninth Circuit found Nike’s photograph of Jordan did not
       infringe on Rentmeester’s photograph as a matter of law, because while
       the photographs were similar, they contained significant differences in
       Jordan’s pose, the specific setting and backdrop, position of the
       basketball hoop, and Jordan’s positioning within the frame of the
       photograph. Id. at 1122-23. While Jordan’s pose was similar in Nike’s
       photograph, the Ninth Circuit found that Rentmeester’s copyright “does
       not confer a monopoly on that general ‘idea’ or ‘concept’; he cannot
       prohibit other photographers from taking their own photos of Jordan in
       a leaping, grand jeté-inspired pose. Because the pose Rentmeester
       conceived is highly original, though, he is entitled to prevent others
       from copying the details of that pose as expressed in the photo he took.”
       Id. at 1121. The circuit further stated: “Had Nike’s photographer
       replicated those details in the Nike photo, a jury might well have been
       able to find unlawful appropriation even though other elements of the
       Nike photo, such as background and lighting, differ from the
       corresponding elements in Rentmeester’s photo.” Id.

             In Reece v. Island Treasures Art Gallery, Inc., 468 F. Supp. 2d
       1197 (D. Haw. 2006), the plaintiff sought to enjoin the defendant from
       selling and displaying stained glass art that was similar to plaintiff’s
       photograph in that they both “depict, from the same angle, a woman
       kneeling on Oahu’s Kailua beach performing an ‘ike motion from the
       hula noho (sitting) position.” Id. at 1200-01. The court found the works
       were not substantially similar even though the women in each work
       had the same pose, similar clothing, and were depicted in the same
       orientation. Id. at 1204. While the ‘ike movement depicted in the
       photograph was not protectible, the expression of those ideas, including


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       “the angle, timing, and lighting of the photograph, as well as the
       expression of the hula kahiko performance and dress,” was protectible.
       Id. at 1206. The court examined the protectible elements, and
       determined that the images were not substantially similar because (1)
       the appearance of the dancers in the stained glass image was different
       because it lacked detail; (2) the dancer in the stained glass image had
       “no facial features, hand details, or muscular differentiation”; (3) [t]he
       mountains and ocean dominate the upper half of the stained glass, but
       not the photograph”; (4) [t]he dancers’ hairstyles are notably different
       lengths and shapes”; and (5) “the sepia tone of the photograph is
       markedly contrasted by the vibrant colors of the stained glass.” Id. at
       1208.

             In Bill Diodato Photography, LLC v. Kate Spade, LLC, 388 F.
       Supp. 2d 382, 384 (S.D.N.Y. 2005), a photographer claimed copyright
       infringement of his photograph from outside a bathroom stall of a
       woman’s feet and a handbag resting on the floor. The court found that
       while the allegedly infringing photograph contained many similarities
       to the one taken by the plaintiff, the pose alone depicted in the original
       was not protectible. Id. at 394.

              Drawing on these cases, Defendants argue that the subject
       matter and pose in the Portrait are not protectible. With respect to the
       positioning of Davis’s fingers, Defendants argue “Sedlik does not and
       cannot own a legal monopoly [on] the idea of Miles Davis making a
       ‘Sssh!’ symbol with his fingers” because that pose is an idea. Opp’n to
       Sedlik Mot. at 17. The Court agrees that Davis’s pose is not separately
       protectible. However, the selection and arrangement of the elements of
       the Portrait, including the lighting and camera angle, are protectible.
       See Rentmeester, 883 F.3d at 1119.

             Sedlik argues Defendants’ cited cases are inapposite because they
       do not sanction the copying of a work by using a copy of the original,
       rather than by recreating or closely replicating the original. Reply at 7.
       Sedlik cites Bleistein v. Donaldson Lithographing Co., 188 U.S. 239,
       249 (1903) for the proposition that making a copy of a copyrighted
       image is itself copyright infringement. The Supreme Court in Bleistein


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       stated that “[o]thers are free to copy the original” work but that “[t]hey
       are not free to copy the copy.” Id. at 249. The Court declines to address
       this argument because it was made for the first time in a reply brief.
       See Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (a “district
       court need not consider arguments raised for the first time in a reply
       brief.”). Additionally, this argument does not appear to be relevant to
       determining substantial similarity.

              The Court next considers whether the Portrait is entitled to
       broad or thin protection. “A copyrighted work is entitled to thin
       protection when the range of creative choices that can be made in
       producing the work is narrow.” Rentmeester, 883 F.3d at 1120. “[T]he
       greater the range of creative choices that may be made, the broader the
       level of protection that will be afforded to the resulting image.” Id.
       (finding photograph was entitled to broad protection because the range
       of creative choices was “exceptionally broad” and “very few of those
       choices were dictated by convention or subject matter.”). Here, the
       Court finds the Portrait is entitled to broad protection because there
       were a great number of choices involved in creating the Portrait, such
       as Davis’s highly specific pose, facial expression, lighting and shadows,
       camera angle, and background for the image.

             The Court next considers whether the Tattoo is objectively
       similar to the Portrait. The two works appear below:




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             In his motion, Sedlik does not articulate the nature of the
       similarities between the Portrait and the Tattoo, other than that there
       are some. Instead, he concludes that “[t]he two works are so
       remarkably similar that the ordinary observer, unless she set out to
       detect the disparities, would overlook them.” Sedlik Mot. at 17. This
       merely restates the standard for the extrinsic test and is not sufficient
       to meet Sedlik’s summary judgment burden as to substantial
       similarity. While the two works share some obvious similarities, it



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       does not take an expert to identify differences in the composition and
       selection and arrangement of the unprotectible features – such as the
       light and shading on Davis’s face, the hairline and flowing hair on
       Davis’s head, and background – that a reasonable jury could find to be
       more than de minimis. Sedlik and Defendants both offer expert
       testimony comparing the two works, but neither Defendants’ expert nor
       Sedlik (who authored a rebuttal report) purport to be an expert on
       comparing photographs and tattoos – or even to be an expert on both
       photography and tattoos. See dkt. 34-2 (Friedman Report); dkt. 50-5
       (Sedlik Rebuttal Report). 3 The Court finds there is a triable issue of
       substantial similarity under the extrinsic test. See Apple, 35 F.3d at
       1443 (explaining expert testimony should be used “if necessary” to
       “determine whether any of the allegedly similar features are protected
       by copyright.”).

                   b.     Intrinsic Test

              The Court next considers whether, under the intrinsic test, an
       ordinary, reasonable observer would find the two works to be
       substantially similar. “The intrinsic test requires a more holistic,
       subjective comparison of the works to determine whether they are
       substantially similar in “‘total concept and feel.’” Rentmeester, 883
       F.3d at 1118. The Court finds a reasonable juror applying the intrinsic
       test could conclude that the works are not substantially similar in total
       concept and feel. See Swirsky v. Carey, 376 F.3d 841, 845 (9th Cir.
       2004), as amended on denial of reh’g (Aug. 24, 2004) (“subjective
       question [of] whether works are intrinsically similar must be left to the
       jury”). Because there are triable issues as to substantial similarity
       under both the extrinsic and intrinsic tests, the Court DENIES Sedlik’s
       motion as to copyright infringement.




       3 The Court will address the motion to exclude Defendants’ experts in a

       separate order. The Court’s ruling here would be the same whether or not
       the experts’ reports are considered.



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             2.    Fair Use

             Defendants argue their use of the Portrait was fair. KVD Mot. at
       13. The fair use doctrine “permits unauthorized use of copyrighted
       works ‘for purposes such as criticism, comment, news reporting,
       teaching (including multiple copies for classroom use), scholarship, or
       research.’” Micro Star v. Formgen Inc., 154 F.3d 1107, 1112 (9th Cir.
       1998) (quoting 17 U.S.C. § 107). “This listing was not intended to be
       exhaustive, or to single out any particular use as presumptively a ‘fair’
       use.” Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539,
       561 (1985) (citation omitted). The Court must consider and weigh the
       determinative factors: “(1) the purpose and character of the use,
       including whether such use is of a commercial nature or is for nonprofit
       educational purposes; (2) the nature of the copyrighted work; (3) the
       amount and substantiality of the portion used in relation to the
       copyrighted work as a whole; and (4) the effect of the use upon the
       potential market for or value of the copyrighted work.” 17 U.S.C. § 107.
       But the “statutory factors are not exclusive.” Sega Enters. Ltd. v.
       Accolade, Inc., 977 F.2d 1510, 1522 (9th Cir. 1992). “Rather, the
       doctrine of fair use is in essence ‘an equitable rule of reason.’” Id.
       (quoting Harper & Row, 471 U.S. at 560).

              Additionally, “[a]lthough defendants bear the burden of proving
       that their use was fair, they need not establish that each of the factors
       set forth in § 107 weighs in their favor. Instead, all factors must be
       explored, and the results weighed together in light of the purposes of
       copyright and the fair use defense.” NXIVM Corp. v. Ross Inst., 364
       F.3d 471, 476-77 (2d Cir. 2004) (citations omitted); see also Campbell v.
       Acuff-Rose Music, Inc., 510 U.S. 569, 578 (1994) (“All [four statutory
       factors] are to be explored, and the results weighted together, in light of
       the purposes of copyright.”). “Fair use is a mixed question of law and
       fact. If there are no genuine issues of material fact, or if, even after
       resolving all issues in favor of the opposing party, a reasonable trier of
       fact can reach only one conclusion, a court may conclude as a matter of
       law whether the challenged use qualifies as a fair use of the
       copyrighted work.” Worldwide Church of God v. Phila. Church of God,
       Inc., 227 F.3d 1110, 1115 (9th Cir. 2000). Because the fair use inquiry


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       requires a case-by-case analysis, the Court addresses each of the four
       statutory factors.

                   a.    Purpose and Character

             The first factor is “the purpose and character of the use, including
       whether such use is of a commercial nature or is for nonprofit
       educational purposes.” 17 U.S.C. § 107(1). Several principles may bear
       on this factor, including, as relevant here, transformation and
       commerciality. See Monge v. Maya Mags., Inc., 688 F.3d 1164, 1173
       (9th Cir. 2012).

              Transformation, “a judicially-created consideration that does not
       appear in the text of the statute,” id., has been described as “the most
       important component of the inquiry into the ‘purpose and character of
       the use.’” L.A. News Serv. v. CBS Broad., Inc., 305 F.3d 924, 938 (9th
       Cir. 2002), as amended, 313 F.3d 1093 (9th Cir. 2002). “[T]he more
       transformative the new work, the less will be the significance of other
       factors, like commercialism, that may weigh against a finding of fair
       use.” Campbell, 510 U.S. at 579. Transformation is a “key factor in
       fair use” but is often a “highly contentious topic.” Seltzer v. Green Day,
       Inc., 725 F.3d 1170, 1176 (9th Cir. 2013).

              A work is transformative when it does not “merely supersede the
       objects of the original creation” but “adds something new, with a
       further purpose or different character, altering the first with new
       expression, meaning, or message.” Id. at 579 (internal quotation
       marks, alteration, and citation omitted). The question is whether the
       appropriation of the original leads to a “new creation,” either through
       changes to the work itself or through placement of the work in “a
       different context.” Wall Data Inc. v. L.A. Cnty. Sheriff’s Dep’t, 447 F.3d
       769, 778 (9th Cir. 2006). A work can be transformative even where “the
       allegedly infringing work makes few physical changes to the original or
       fails to comment on the original.” Seltzer, 725 F.3d at 1177. In Seltzer,
       the Ninth Circuit affirmed a finding that a band’s use of artwork
       depicting a screaming face was transformative where it was used as a




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       video backdrop for a song about the hypocrisy of religion, and the
       original “clearly sa[id] nothing about religion.” Id.

              A work’s separate purpose “by itself, does not necessarily create
       new aesthetics or a new work that ‘alters the first work with new
       expression, meaning or message.’” Monge, 688 F.3d at 1176 (brackets
       omitted) (quoting Infinity Broad. Corp. v. Kirkwood, 150 F.3d 104, 108
       (2d Cir. 1998)). A “difference in purpose is not quite the same thing as
       transformation, and Campbell instructs that transformativeness is the
       critical inquiry under this factor.” Id. (quoting Infinity, 150 F.3d at
       108). However, making an exact copy of a protected work may be
       transformative provided “the copy serves a different function than the
       original work.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146,
       1165 (9th Cir. 2007); see also Kelly v. Arriba Soft Corp., 336 F.3d 811,
       818-19 (9th Cir. 2002) (finding transformative use where the original
       purpose of the copied images was aesthetic, while the new purpose was
       to improve access to information).

             Defendants argue the Tattoo is transformative for at least three
       reasons.

             First, Defendants contend the Tattoo presents a “new expression,
       meaning, or message” that is personal to Farmer because it relates to
       his study of jazz music in college, and because he personally identifies
       with Davis and “remains an avid listener of jazz and Miles Davis’s
       music.” KVD Mot. at 15. Defendants also contend the Tattoo should be
       considered in conjunction with Farmer’s other tattoos. Id. Defendants
       point out that in contrast to the personal significance Farmer
       apparently attaches to the Tattoo, Sedlik’s purpose in creating the
       Portrait was to comment on Davis’s use of silence and negative space in
       his music. Id. Sedlik argues Defendants’ statements about the
       subjective meaning or purpose of the Tattoo are irrelevant to the issue
       of transformativeness and that Defendants have not established any
       material difference between the purposes of the Tattoo and the
       Portrait. Opp’n to KVD Mot. at 9. Sedlik further argues Farmer’s
       personal motivation for getting the Tattoo is irrelevant and that to find
       otherwise would create an absurd result. Id. at 7. Courts do consider


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       the motivation of the parties in analyzing fair use, see, e.g., Seltzer, 725
       F.3d at 1174, 1177 (considering plaintiff’s and defendant’s purposes in
       creating their respective works); Furie v. Infowars, LLC, 401 F. Supp.
       3d 952, 973 (C.D. Cal. 2019) (considering defendant’s purpose in
       creating work and finding triable issues as to transformativeness).
       However, Farmer is not a party to this action, and while Defendants
       have articulated how Farmer’s subjective purpose differs from Sedlik’s,
       Defendants have not cited authority that a work has a different
       meaning for the purpose of the fair use analysis simply because an
       individual who commissions a copy of the original attaches some
       different personal significance to it.

              Second, Defendants argue that tattoos inherently create a new
       expression, meaning, or message as a result of being permanently
       imprinted on a human body because tattoos have personal meanings,
       which may not be immediately obvious to someone unfamiliar with the
       significance of the tattoo to its wearer. KVD Mot. at 16 (citing
       PSUF ¶¶ 121-22). As explained above, the subjective belief of the
       wearer of a tattoo as to the tattoo’s purpose is not dispositive of
       transformativeness. Defendants also point to the Ninth Circuit’s
       decision in Anderson v. City of Hermosa Beach, in which the court
       acknowledged that “a permanent tattoo ‘often carries a message quite
       distinct’ . . . and ‘provide[s] information about the identity of the
       ‘speaker.’” 621 F.3d 1051, 1067 (9th Cir. 2010) (alteration in original).
       In striking down a city’s total ban on tattoos, the Ninth Circuit stated it
       disagreed with the city that “‘[there is nothing inherently or distinctly
       expressive” about tattoos. Id. However, Anderson does not establish
       that the Tattoo inherently created a different meaning by virtue of its
       location on the human body.

               Third, Defendants argue that the Tattoo is transformative
       because while Kat Von D used the Portrait as a reference, she inked
       the Tattoo in the “freehand” method and added her own interpretation
       to it: “one that added the appearance of movement by adding and
       shading waves of smoke around the perimeter of Miles Davis’s hair and
       hand; created a sentiment of melancholy; and eliminated the stark,
       black background that dominates the Photograph.” KVD Mot. at 17.


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       Defendants contend that by making these modifications to the Portrait,
       Kat Von D transformed it into a new, more melancholy aesthetic. Id.
       The Court finds this argument more convincing, as Defendants have
       identified visual differences between the Portrait and the Tattoo
       resulting from Kat Von D’s techniques in inking the Tattoo. The Court
       finds Defendants have met their burden of showing the Tattoo has a
       purpose or meaning distinct from that of the Portrait by virtue of the
       way Kat Von D changed its appearance to create what she
       characterizes as adding movement and a more melancholy aesthetic.
       However, Sedlik disputes whether Kat Von D’s rendering of the Tattoo
       was transformative by virtue of the small changes she made, see
       DSUF ¶ 91 (citing Sedlik Rebuttal Report at 13-15); Sedlik opines that
       all of the alleged dissimilarities between the Portrait and the Tattoo
       result from Kat Von D’s replication of the Portrait onto a three-
       dimensional surface (Farmer’s arm), Sedlik Rebuttal Report at 16. The
       Court finds Sedlik has raised a triable issue as to transformativeness
       that is more appropriately left to a jury.

             Defendants also argue their use of the Portrait was not
       commercial because neither Kat Von D nor High Voltage charged
       Farmer for inking the Tattoo and Kat Von D stopped tattooing for
       payment in 2012. KVD Mot. at 17-18. “There is no doubt that a
       finding that copying was not commercial in nature tips the scales in
       favor of fair use. But the inverse is not necessarily true, as many
       common fair uses are indisputably commercial.” Google LLC v. Oracle
       Am., Inc., 141 S. Ct. 1183, 1204 (2021). Commerciality is not
       “dispositive of the first factor” of the fair use analysis. Id. Here, Sedlik
       disputes that Defendants’ use of the Portrait was not commercial
       because Defendants “received and enjoyed indirect economic benefit in
       the form of advertising, promotion, and goodwill” by posting photos of
       the Tattoo on their various social media platforms. Opp’n to KVD Mot.
       at 12. The Court finds Sedlik has raised a triable issue as to whether
       Defendants’ use was commercial.

             Considering commerciality and transformativeness together, the
       Court finds triable issues remain as to both elements of the factor, and
       therefore the first factor cannot be determined as a matter of law.


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                   b.    Nature of the Copyrighted Work

             Under the second factor, the Court addresses two aspects of the
       work: the extent to which it is creative and whether it is unpublished.
       Harper & Row, 471 U.S. at 563-64.

             Photos are generally viewed as creative, aesthetic expressions of
       a scene or image and have long been protected by copyright. See 17
       U.S.C. § 102(a)(5) (extending copyright protection to “pictorial, graphic,
       and sculptural works”). The Ninth Circuit has recognized that
       individual photographs merit copyright protection. See, e.g., Ets-
       Hokin, 225 F.3d at 1074 (“Indeed, the idea that photography is art
       deserving [copyright] protection reflects a longstanding view of Anglo-
       American law.”). Here, the Portrait is a photograph and is a creative
       work.

             “[T]he unpublished nature of a work is a key, though not
       necessarily determinative, factor tending to negate a defense of fair
       use.” Harper & Row, 471 U.S. at 554 (internal quotation marks and
       brackets omitted). “Under ordinary circumstances, the author’s right
       to control the first public appearance of his undisseminated expression
       will outweigh a claim of fair use.” Id. at 555. Here, the Portrait was
       published in an issue of Jazziz Magazine in 1989 that was widely
       published throughout the United States. DSUF ¶¶ 142-43. Because
       the Portrait was previously published several decades ago, this factor
       weighs in favor of fair use. See Seltzer, 725 F.3d at 1178 (finding fact
       that original work was “widely disseminated” weighed in favor of fair
       use).

                   c.    Amount and Substantiality of the Portion Used

              In assessing the amount and substantiality of the portion used,
       courts consider not only “the quantity of the materials used” but also
       “their quality and importance.” Campbell, 510 U.S. at 587. “While
       ‘wholesale copying does not preclude fair use per se,’ copying an entire
       work ‘militates against a finding of fair use.’” Worldwide Church of
       God, 227 F.3d at 1118 (quoting Hustler Mag. Inc. v. Moral Majority
       Inc., 796 F.2d 1148, 1155 (9th Cir. 1986)). If the subsequent user of the


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       work “only copies as much as is necessary for his or her intended use,
       then this factor will not weigh against him or her.” Kelly, 336 F.3d at
       820-21. Thus, the use of an entire image may be reasonable if a more
       limited use would not serve the defendant’s intended purpose. See
       Perfect 10, 508 F.3d at 1167-68 (finding the use of an entire image
       necessary when the defendant used the image in its search engine).

              As discussed above, the Tattoo copied numerous elements from
       the Portrait. Defendants argue that Davis’s pose in the Portrait is not
       meaningfully divisible from the rest of the image, and that tattoo
       artists generally need to have a reference when creating a tattoo. KVD
       Mot. at 19-20. However, as Sedlik points out, Defendants explained
       how Kat Von D created a line drawing on paper before inking the
       Tattoo, see Opp’n to KVD Mot. at 15-16, which suggests Kat Von D
       chose which elements from the Portrait to include in the Tattoo. Kat
       Von D presumably did not need to copy the pose from the Portrait in
       order express a sentiment of melancholy. See DSUF ¶ 77. The Court
       finds this factor weighs against fair use.

                   d.    Effect on the Potential Market

              The fourth factor is “undoubtedly the single most important
       element of fair use.” Harper & Row, 471 U.S. at 566. “[A] use that has
       no demonstrable effect upon the potential market for, or the value of,
       the copyrighted work need not be prohibited in order to protect the
       author’s incentive to create.” Sony, 464 U.S. at 450. “[O]ne need only
       show that if the challenged use ‘should become widespread, it would
       adversely affect the potential market for the copyrighted work.’”
       Harper & Row, 471 U.S. at 568 (quoting Sony, 464 U.S. at 451).
       “Where the allegedly infringing use does not substitute for the original
       and serves a ‘different market function,’ such factor weighs in favor of
       fair use.” Seltzer, 725 F.3d at 1179 (citing Campbell, 510 U.S. at 591).
       The Court must also “take into account the public benefits the copying
       will likely produce.” Google, 141 S. Ct. at 1206.

            There is no evidence that the Tattoo is a substitute for the
       primary market for the Portrait. Here, Sedlik testified at deposition



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       that no one has told him they would not buy a copy of the Portrait
       because they had seen the Tattoo or social media posts about the
       Tattoo. KVD Mot. at 20 (citing DSUF ¶¶ 153-54). The Portrait was
       originally taken in connection with a photoshoot for Jazziz Magazine,
       DSUF ¶ 136, not for use in the market for tattoos. 4 The Court finds
       that Defendants have pointed to sufficient evidence to meet their
       burden.

             Sedlik attempts to raise a triable issue by arguing that he has
       offered evidence that he licensed the Portrait for use as a tattoo design.
       Opp’n to KVD Mot. at 17. Sedlik points to his deposition testimony, in
       which he stated he intended for his work to be licensed for use in
       various types of media. Id. (citing dkt. 50-18 (Sedlik Dep.) 24:10-13,
       24:24-25:11, 30:7-31:2). Indeed, Sedlik listed in his deposition the
       various licenses he has given for the Portrait, ranging from use in
       television productions to a statue in a city in France. Sedlik Dep.
       104:2-106:20. Sedlik also testified that he believed he licensed the
       Portrait for use in the making of a tattoo, id. 113:21-114:4, and that he
       has been approached several times by tattooists or their clients to
       request a license to use the Portrait in a tattoo and that he may have
       rejected at least some of their requests if he did not approve of the
       quality of their work, id. 114:5-22. The Court finds Sedlik has raised a
       triable issue as to whether there is a market for future use of the
       Portrait in tattoos.


       4 Defendants also point to expert testimony that the use of copyrighted and

       copyrightable source materials as reference materials for creating tattoos is
       pervasive within the tattoo profession, and that requiring tattooists to obtain
       licenses would stifle creativity and “disrupt the settled practices of the tattoo
       profession.” KVD Mot. at 22. The Court is not convinced that tattooists,
       unlike other visual artists, should as a matter of law be immune from
       licensing requirements, or that the procedures of the tattoo industry cannot
       change to accommodate the time needed to obtain a license if required. To
       the extent Defendants’ experts argue that tattoo artists should be able to
       commit what would otherwise be copyright violations, that opinion is
       inadmissible and the Court does not consider it in rendering its decision.



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                   e.    Non-Statutory Factor

              Defendants urge the Court to consider a non-statutory factor in
       addition to the four-factor test outlined above: “fundamental rights of
       bodily integrity and personal expression.” KVD Mot. at 22. The Court
       may consider Defendants’ arguments because the statutory factors are
       “not exclusive.” Sega Enters. Ltd., 977 F.2d at 1522. However, because
       the Court finds triable issues as to the statutory factors, the Court need
       not address the non-statutory factor, and the issue of fair use as to the
       Tattoo and the associated social media posts is more appropriately left
       to a jury.

             3.    Partial Summary Judgment as to KVD, Inc.

             Defendants move in the alternative for summary judgment as to
       KVD, Inc. because KVD, Inc. is not liable for direct, vicarious, or
       contributory infringement. KVD Mot. at 25-27.

              To prove direct infringement, Sedlik must demonstrate that each
       of the defendants “cause[d] the copying.” Fox Broad. Co. v. Dish
       Network L.L.C., 747 F.3d 1060, 1067 (9th Cir. 2014). There is no
       evidence that KVD, Inc. caused the alleged copying of the Portrait;
       KVD, Inc. did not ink the Tattoo, nor did it post an image of the Tattoo
       or the Portrait on social media, as did Kat Von D and High Voltage.
       See DSUF ¶ 94.

             Sedlik also cannot prevail on his claims against KVD, Inc. for
       vicarious or contributory infringement. A defendant is liable for
       vicarious infringement when it has “(1) the right and ability to
       supervise the infringing conduct and (2) a direct financial interest in
       the infringing activity.” Perfect 10, 847 F.3d at 673. Liability for
       contributory infringement occurs when the defendant “(1) has
       knowledge of another’s infringement and (2) either (a) materially
       contributes to or (b) induces that infringement.” Id. at 670. There is no
       evidence that KVD, Inc. had the ability to supervise the infringing
       conduct, for purposes of the vicarious infringement claim, nor that it
       induced the infringement, for purposes of the contributory infringement
       claim.


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             Sedlik argues KVD, Inc. is liable because it was in the business of
       “body art” and that Kat Von D was KVD, Inc.’s sole employee at the
       time of the creation of the Tattoo. Opp’n to KVD Mot. at 22. Sedlik
       does not explain how either of these facts indicates that KVD, Inc. had
       any role in the creation and sharing online of the Tattoo.

            The Court DENIES Sedlik’s and Defendants’ motions for
       summary judgment as to the copyright infringement claims and
       GRANTS Defendants’ motion as to the copyright infringement claims
       against KVD, Inc.

       C.    DMCA Claims

              Sedlik and Defendants each move for summary judgment on
       Sedlik’s DMCA claims. Sedlik Mot. at 20-21; KVD Mot. at 27. Sedlik
       moves for summary judgment on the falsification claim, while
       Defendants move for summary judgment on both claims: removal and
       falsification. Id.

             1.    Falsification of CMI

             Section 1202(a) of the DMCA provides,

             No person shall knowingly and with the intent to induce,
             enable, facilitate, or conceal infringement--

                   (1) provide copyright management information that is
                   false, or

                   (2) distribute or import for distribution copyright
                   management information that is false.

       17 U.S.C. § 1202(a).

             The DMCA defines copyright management information (CMI) as
       “information conveyed in connection with copies or phonorecords of a
       work or performances or displays of a work, including in digital form,”
       including, among other things, the title and name of the work and the
       name of the copyright owner. Id. § 1202(c).




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             Defendants argue Sedlik cannot establish liability because
       neither the Tattoo nor the related social media posts contain any CMI,
       and because Sedlik has not put forward evidence establishing the
       requisite mental state. KVD Mot. at 29. Sedlik’s argument in response
       and in his own motion is that Kat Von D altered the CMI of the
       Portrait by “claiming to be the author” of the Portrait. Opp’n to KVD
       Mot. at 25; see also Sedlik Mot. at 20-21. Sedlik argues that the
       language of Defendants’ social media posts suggests that Kat Von D
       was the creator of the Portrait. Sedlik Mot. at 20-21. The caption on
       Kat Von D’s posts stated: “portrait I tattooed at @highvoltagetat.”
       Dkts. 35-23 – 35-25. High Voltage’s posts stated, “It still amazes us
       that @thekatvond can make a face as majestic & deep as this emerge
       from the flesh!!!” Dkts. 35-28 – 35-30. The Court finds a reasonable
       jury could find this language identified Kat Von D as the original
       creator of the Portrait, rather than Sedlik. While Sedlik argues
       Defendants had “intent to mislead the public,” he does not put forward
       any evidence in support.

           The Court finds Defendants have met their burden, and Sedlik has
       failed to meet his burden as to the claim for falsification in violation of
       the DMCA.

             2.    Removal of CMI

             Section 1202(b) of the DMCA provides,

             No person shall, without the authority of the copyright
             owner or the law--

                   (1) intentionally remove or alter any copyright
                   management information,

                   (2) distribute or import for distribution copyright
                   management information knowing that the copyright
                   management information has been removed or
                   altered without authority of the copyright owner or
                   the law, or




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                   (3) distribute, import for distribution, or publicly
                   perform works, copies of works, or phonorecords,
                   knowing that copyright management information has
                   been removed or altered without authority of the
                   copyright owner or the law, knowing, or, with respect
                   to civil remedies under section 1203, having
                   reasonable grounds to know, that it will induce,
                   enable, facilitate, or conceal an infringement of any
                   right under this title.

       17 U.S.C. § 1202(b).

              Sedlik claims Defendants knowingly removed, altered, and
       falsified CMI with the intent to induce, enable, facilitate, or conceal
       infringement. Dkt. 1 (Compl.) ¶ 10. Defendants argue that the version
       of the Portrait provided to Kat Von D did not contain Sedlik’s name, a
       copyright symbol, a watermark, or any other CMI; Sedlik disputes this,
       but does not provide any evidence that any CMI was present on the
       image such that Kat Von D could remove it, or that she actually did so.
       See DSUF ¶¶ 36-39. Defendants argue that even if there was CMI,
       Sedlik has not pointed to any evidence that Kat Von D had the
       requisite intent. KVD Mot. at 28. The Court finds Defendants have
       met their burden, and Sedlik has failed to raise a triable issue as to the
       claim for removal in violation of the DMCA.

              The Court GRANTS Defendants’ motion as to the DMCA claims
       for falsification and removal of CMI and DENIES Sedlik’s motion as to
       the falsification claim.

       D.    Partial Summary Judgment as to Remedies

            Defendants move in the alternative for partial summary
       judgment as to remedies because Sedlik cannot establish actual
       damages or Defendants’ profits. KVD Mot. at 29.

             An infringer of copyright is liable for either (1) “the copyright
       owner’s actual damages and any additional profits of the infringer” that
       “are attributable to the infringement and are not taken into account in



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       computing the actual damages,” or (2) statutory damages. 17 U.S.C. §
       504(a)-(b). “Actual damages are usually determined by the loss in the
       fair market value of the copyright, measured by the profits lost due to
       the infringement or by the value of the use of the copyrighted work to
       the infringer.” Polar Bear Prods., Inc. v. Timex Corp., 384 F.3d 700,
       708 (9th Cir. 2004). “In establishing the infringer’s profits, the
       copyright owner is required to present proof only of the infringer’s gross
       revenue, and the infringer is required to prove his or her deductible
       expenses and the elements of profit attributable to factors other than
       the copyrighted work.” Id. § 504(b).

             Defendant argues Sedlik cannot prove actual damages because
       Sedlik cannot establish the market value of the Portrait and whether it
       decreased as a result of the Tattoo. KVD Mot. at 30. Sedlik does not
       address this argument, and indeed he has put forward no such
       evidence.

              With respect to profits, it is undisputed that Farmer did not pay
       Kat Von D or High Voltage for inking the Tattoo, DSUF ¶ 31, so Sedlik
       cannot establish direct profits. As for indirect profits, Defendants
       argue Sedlik cannot prove evidence of Defendants’ gross revenues
       because he did not request that information in discovery, and
       Defendants did not provide it. KVD Mot. at 30-31. Sedlik responds
       that he did request that information, and that therefore Defendants’
       argument that he will be unable to prove indirect profits is not
       accurate. Opp’n to KVD Mot. at 22; see also id. at 5 (describing
       requests for production regarding Defendants’ revenue from publication
       of the Tattoo online). As explained above, a triable issue exists as to
       whether Defendants profited off their social media posts.

            The Court GRANTS in part and DENIES in part Defendants’
       motion for partial summary judgment as to remedies.

                                 IV. CONCLUSION

            The Court DENIES Sedlik’s motion for summary judgment and
       GRANTS in part and DENIES in part Defendants’ motion for summary
       judgment.


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          IT IS SO ORDERED.



        Date: May 31, 2022                   __________________________
                                             ___________________________
                                             Dale S. Fischer
                                             United States District Judge




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